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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                 8:17CR314
                                           )
      vs.                                  )
                                           )
JOSE RODOLFO-CHAIDEZ and                   )                  ORDER
IDELFONSO TAPIA-RODRIGUEZ,                 )
                                           )
                   Defendants.


       This matter is before the court on the defendant Rodolfo-Chaidez’s Unopposed
Motion to Extend Pretrial Motions [103] (which the court will construe as a motion to
continue trial) and defendant Tapia-Rodriguez’s Unopposed Motion to Continue Trial
[104]. The parties are involved in plea negotiations and request additional time to
resolve the issues. For good cause shown,

       IT IS ORDERED that the Motions to Continue [103] and [104] are granted, as
follows:

      1. The jury trial now set for May 7, 2018, is continued to July 2, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and July 2, 2018, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      DATED: April 26, 2018.

                                        BY THE COURT:


                                        s/ Susan M. Bazis
                                        United States Magistrate Judge
